Case 1:22-cv-01160-PLM-SJB              ECF No. 63, PageID.961     Filed 06/20/25        Page 1 of 7




                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF MICHIGAN
                                      SOUTHERN DIVISION

 PETER LYOYA, Personal Representative
 for the Estate of Patrick Lyoya,
                                                     Case No. 1:22-cv-1160
                 Plaintiff,
 v.                                                  HONORABLE PAUL L. MALONEY

 CHRISTOPHER SCHURR,

             Defendant.
 ____________________________________/

                                   CASE MANAGEMENT ORDER

         IT IS HEREBY ORDERED:

  Trial Date and Time                                                         OCTOBER 19, 2026
                                                                                     8:45 a.m.

  Before:    Judge Paul L. Maloney                                            174 Federal Building
                                                                            410 W. Michigan Ave.
                                                                             Kalamazoo, Michigan
  Jury or Non Jury                                                                              Jury
  Estimated Length of Trial                                                                 3 weeks
  Motions to Join Parties or Amend Pleadings                                        JULY 22, 2025
  Rule 26(a)(1) Disclosures                                                           JULY 1, 2025
  Disclose Name, Address, Area of Expertise and       Plaintiff:                   JULY 1, 2025
  a short summary of expected testimony              Defendant:                 AUGUST 18, 2025
  of Expert Witnesses (Rule 26(a)(2)(A)
  Disclosure of Expert Reports                                                DECEMBER 1, 2025
  (Rule 26(a)(2)(B))
  Voluntary Exchange of Documents                                  As outlined in ¶ 8.d. of the Joint
                                                                       Status Report (ECF No. 61)
  Completion of Discovery                                                         MARCH 2, 2026
  Dispositive Motions                                                                MAY 22, 2026
  Interrogatories will be limited to:                                       25 single part questions
  (Single Part Questions)
Case 1:22-cv-01160-PLM-SJB             ECF No. 63, PageID.962              Filed 06/20/25        Page 2 of 7




  Depositions will be limited to:                                                                      TBD
  (Fact Witnesses)
  Requests for Admission will be limited to:                                                     25 per side
  Requests for Production of Documents will be limited to:                                       25 per side
  Settlement Conference                                          Date:               SEPTEMBER 2, 2026
                                                                 Time:                           9:15 a.m.
                                                                Before                Hon. Sally J. Berens
                                                                                              BY VIDEO
  Final Pretrial Conference                                      Date:             SEPTEMBER 28, 2026
  Before Judge Paul L. Maloney                                   Time:                      9:30 a.m.
  ADR To Take Place On Or Before:                                                          APRIL 20, 2026

 1.     TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Paul L.
        Maloney, 174 Federal Building, 410 W. Michigan Ave., Kalamazoo, Michigan, as set forth above.

 2.     JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All motions for joinder of
        parties and all motions to amend the pleadings must be filed by the date set forth in the table above.

 3.     DISCLOSURES AND EXCHANGES: Deadlines for exchange of Rule 26(a)(1) disclosures, names
        of lay witnesses, identification of experts, voluntary exchange of documents, and disclosure of expert
        reports under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

 4.     DISCOVERY: All discovery proceedings shall be completed no later than the date set forth in the
        table above, and shall not continue beyond this date. All interrogatories, requests for admissions,
        and other written discovery requests must be served no later than thirty days before the close of
        discovery. All depositions must be completed before the close of discovery. Interrogatories will be
        limited as set forth in the table above. Depositions will be limited as set forth in the table above.
        There shall be no deviations from this order without prior approval of the court upon good cause
        shown. Time limitations for depositions set forth in Rule 30(d)(1) apply to this case.

 5.     MOTIONS:

        a.       Non-dispositive motions shall be filed in accordance with W.D. Mich. LcivR. 7.3. They will
                 be referred to a Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(A). In accordance with
                 28 U.S.C. § 471, et seq., it is the policy of this Court to prohibit the consideration of
                 discovery motions unless accompanied by a certification that the moving party has made a
                 reasonable and good faith effort to reach agreement with opposing counsel on the matters
                 set forth in the motion.

        b.       Dispositive motions shall be filed in accordance with W.D. Mich. LcivR 7.2 by the date set
                 forth in the table above. If dispositive motions are based on supporting documents such as
                 depositions or answers to interrogatories, only those excerpts which are relevant to the
                 motion shall be filed. The case manager will notify counsel of the date for oral argument.


                                                     -2-
Case 1:22-cv-01160-PLM-SJB             ECF No. 63, PageID.963               Filed 06/20/25        Page 3 of 7




               Pursuant to Administrative Order 07-026, one courtesy copy of all dispositive motion
               papers (including responses and replies) and all accompanying exhibits must be
               submitted directly to the judge’s chambers on paper. The copy must be hand-
               delivered or sent via first class mail the same day the document is e-filed.

       c.      The parties are strongly encouraged to file motions in limine at least fourteen (14) calendar
               days prior to the final pretrial conference, but in no event shall they be filed later than the
               date for the submission of the proposed Final Pretrial Order.

 6.    ALTERNATIVE DISPUTE RESOLUTION: In the interest of facilitating prompt resolution of this
       case, and the parties having voluntarily selected facilitative mediation, this matter shall be submitted
       to facilitative mediation. The parties have selected Attorney Thomas R. Behm as the mediator.
       A Notice will issue regarding the method and schedule for the mediation conference.

 7.    SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in good
       faith settlement negotiations. A settlement conference has been scheduled before the magistrate
       judge as set forth above.

       a.      Persons Required to Attend. All parties and the attorneys who are to conduct the trial shall
               attend the settlement conference in person unless specifically excused by the Court after a
               written motion and order (or otherwise directed, such as in an order that the settlement
               conference will take place by videoconference). W.D. Mich. LCivR 16.6. Where the party
               is not a natural person, a representative of the party with full settlement authority must
               attend. The person with settlement authority must come with authority to accept, without
               further contact with another person, the settlement demand of the opposing party. In
               addition, where a party is insured, a representative of the insurer who is authorized to
               negotiate and to settle the matter (within policy limits) up to the amount of the opposing
               parties’ existing settlement demand shall also attend. When a settlement conference is held
               by videoconference, all participants must have working video/audio equipment, be visible
               and audible throughout the proceedings, be dressed appropriately for a court proceeding, be
               in a location where they will not be distracted or disturbed during the entire duration of the
               proceeding, and be prepared to participate in the same manner as if they were physically in
               a courthouse for the entire period of the settlement conference until excused by the Court.
               Under no circumstances will the Court allow participants in a settlement conference to
               attend from a vehicle.

       b.      Settlement Letter to Opposing Party. A settlement conference is more likely to be
               productive if, before the conference, the parties have had a written exchange of their
               settlement proposals. Accordingly, at least fourteen (14) days prior to the settlement
               conference, plaintiff’s counsel shall submit a written itemization of damages and settlement
               demand to defendant’s counsel with a brief explanation of why such a settlement is
               appropriate. No later than seven (7) days prior to the settlement conference, defendant’s
               counsel shall submit a written offer to plaintiff’s counsel with a brief explanation of why
               such a settlement is appropriate. This may lead directly to a settlement. If settlement is not
               achieved, plaintiff’s counsel shall deliver or e-mail copies of these letters to chambers no
               later than three (3) business days before the conference. Letters should be mailed, hand



                                                     -3-
Case 1:22-cv-01160-PLM-SJB            ECF No. 63, PageID.964               Filed 06/20/25        Page 4 of 7



               delivered, or e-mailed to berensmediation@miwd.uscourts.gov. Do not file copies of these
               letters in the case.

       c.      Confidential Settlement Letter to Court. In addition, three (3) business days before the
               conference, each party or their attorney shall submit to the chambers of Judge Sally J.
               Berens, a confidential letter concerning settlement. Letters should be mailed, hand
               delivered, or e-mailed to berensmediation@miwd.uscourt.gov. A copy of this letter need
               not be provided to any other party. Do not file a copy of this letter in the Clerk’s Office.
               All information in the settlement letter shall remain confidential and will not be disclosed
               to any other party without the approval of the writer. The confidential settlement letter shall
               set forth: (a) the name and title of the party representative who will be present at the
               settlement conference, with counsel’s certification that the representative will have full
               authority to settle, without the need to consult with any other party; (b) a very brief
               explanation of the nature of the case, including an identification of any parties added or
               dismissed since the time of filing; (c) a history of settlement negotiations to date, including
               all offers, demands and responses (the letter should not, however, divulge any offer made
               in the context of a voluntary facilitative mediation); (d) the policy limits of any relevant
               insurance coverage; (e) the limits on settlement authority given to counsel by the client; (f)
               that party’s suggestions concerning the most productive approach to settlement; (g) any
               other matter that counsel believes will improve the chances for settlement. Plaintiff shall
               also provide an estimated range of damages recoverable at trial and a brief analysis of the
               method(s) used for arriving at the estimate(s).

 8.    FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and time
       set forth above.

 9.    PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order, entitled
       “Final Pretrial Order” shall be prepared jointly by counsel and filed seven (7) business days prior
       to the final pretrial conference in the following form:

               A final pretrial conference was held on the ___ day of ______________. Appearing for the
               parties as counsel were:

                       (List the counsel who will attend the pretrial conference.)

               1.      Exhibits: The following exhibits will be offered by the plaintiff and the defendant:

                       (List separately for each party all exhibits, including demonstrative evidence and
                       summaries of other evidence, by name and number. Plaintiff shall use numbers;
                       defendant shall use letters. Indicate with respect to each exhibit whether and for
                       what reason its admissibility is challenged. Exhibits expected to be used solely for
                       impeachment purposes need not be numbered or listed until identified at trial.
                       Failure to list an exhibit required to be listed by this order will result, except upon
                       a showing of good cause, in a determination of non-admissibility at trial. Objections
                       not contained in the Pretrial Order, other than objections under Evidence Rule 402
                       or 403, shall be deemed waived except for good cause shown. See Fed. R. Civ. P.
                       26(a)(3)(B).)


                                                    -4-
Case 1:22-cv-01160-PLM-SJB       ECF No. 63, PageID.965              Filed 06/20/25        Page 5 of 7



            2.    Uncontroverted Facts: The parties have agreed that the following may be accepted
                  as established facts:

                  (State in detail all uncontroverted facts.)

            3.    Controverted Facts and Unresolved Issues: The factual issues remaining to be
                  determined and issues of law for the Court’s determination are:

                  (Set out each issue which is genuinely controverted, including issues on the merits
                  and other matters which should be drawn to the Court’s attention.)

            4.    Witnesses:

                  A.      Non-expert witnesses to be called by the plaintiff and defendant, except
                          those who may be called for impeachment purposes only, are:

                          (List names, addresses, and telephone numbers of all non-experts who will
                          testify. Indicate whether they are expected to testify in person, by
                          deposition videotape, or by reading of their deposition transcript. Indicate
                          all objections to the anticipated testimony of each non-expert witness. For
                          each witness listed, indicate whether the witness will be called or merely
                          may be called to testify.)

                  B.      Expert witnesses to be called by the plaintiff and defendant, except those
                          who may be called for impeachment purposes only, are:

                          (List names, addresses, and telephone numbers of all experts who will
                          testify, providing a brief summary of their qualifications and a statement of
                          the scientific or medical field(s) in which they are offered as experts.
                          Indicate whether they will testify in person, by deposition videotape, or by
                          reading of their deposition transcript. Indicate all objections to the
                          qualifications or anticipated testimony of each expert witness.)

                          It is understood that, except upon a showing of good cause, no witness
                          whose name and address does not appear in the lists required by
                          subsections (a) and (b) will be permitted to testify for any purpose, except
                          impeachment, if the opposing party objects. Any objection to the use of a
                          deposition under Fed. R. Civ. P. 32(a) not reflected in the Pretrial Order
                          shall be deemed waived, except for good cause shown.

            5.    Depositions and Other Discovery Documents:

                  All depositions, answers to written interrogatories, and requests for admissions, or
                  portions thereof, that are expected to be offered in evidence by the plaintiff and the
                  defendant are:




                                              -5-
Case 1:22-cv-01160-PLM-SJB                ECF No. 63, PageID.966             Filed 06/20/25        Page 6 of 7



                          (Designate portions of depositions by page and line number. Designate answers to
                          interrogatories and requests for admissions by answer or request number.
                          Designation need not be made of portions that may be used, if at all, as
                          impeachment of an adverse party. Indicate any objections to proposed deposition
                          testimony, answers to interrogatories, and admissions.)

                  6.      Length of Trial: Counsel estimate the trial will last approximately _____ full days,
                          allocated as follows: _____ days for plaintiff’s case; _____ days for defendant’s
                          case; _____ days for other parties.

                  7.      Prospects of Settlement: The status of settlement negotiations is:

                          (Indicate progress toward settlement and issues that are obstacles to settlement.)

          The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and upon
 approval by the Court, with such additions as are necessary, will be signed by the Court as an order reflecting
 the final pretrial conference.

 10.     MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the final
         pretrial conference, the parties and the Court will formulate a plan for trial, including a program for
         facilitating the admission of evidence, consider the prospects of settlement, and consider such other
         matters as may aid in the trial or other disposition of the action. Unless excused upon a showing of
         good cause, the attorney who is to conduct the trial shall attend the pretrial conference and shall be
         accompanied by a representative of the party with full settlement authority.

 11.     PREPARATION FOR TRIAL:

         a.       Each party shall file the following not later than two (2) business days following the final
                  pretrial conference:

                  i.      Proposed voir dire questions. The Court will ask basic voir dire questions. Counsel
                          for the parties will be permitted to question prospective jurors. Questioning by
                          counsel shall not be repetitive of questions asked by the Court or of questions asked
                          in the juror questionnaire.

                  ii.     Trial briefs.

         b.       The parties shall jointly file the following not later than two (2) business days following
                  the final pretrial conference:

                  i.      Proposed jury instructions. This Court uses Western District of Michigan’s
                          Standardized Jury Instructions for the preliminary and final instructions. A copy
                          of these instructions is available on the Court’s website (www.miwd.uscourts.gov).1



         1
          The instructions can be located through the Attorney Information link or through the
 Electronic Filing section. If accessing through the Electronic Filing section, you will need to use

                                                      -6-
Case 1:22-cv-01160-PLM-SJB               ECF No. 63, PageID.967               Filed 06/20/25        Page 7 of 7



                          The court generally uses O’Malley, Grenig & Lee’s Federal Jury Practice and
                          Instructions for those not covered in the standard set. All instructions, including
                          those to which there is an objection, shall be filed as one document. Each
                          instruction shall be submitted in full text, one instruction per page, and in the order
                          to be read to the jury. Indicate those instructions with outstanding objections. No
                          instruction submitted shall contain highlighting or blanks. If the language of a
                          standardized instruction is modified, or an additional (non-standard) instruction
                          submitted, the source of the additional language or instruction must be indicated.
                          Objections to opposing counsel’s proposed instructions, will be specified with a
                          summary of the reasons for each objection including a citation to relevant legal
                          authority.

          The parties are required to submit a copy of the joint statement of case and statement of the elements,
 joint proposed jury instructions, and joint proposed verdict form(s) in WordPerfect or Word format to Judge
 Maloney’s Judicial Assistant, Christina Cavazos at Christina_Cavazos@miwd.uscourts.gov and Case
 Manager, Amy Redmond at Amy_Redmond@miwd.uscourts.gov.

                  Ii.     A joint statement of the case and statement of the elements that must be proven by
                          each party. If the parties are unable to agree on the language of a joint statement of
                          the case, then separate, concise, non-argumentative statements shall be filed. The
                          statement(s) of the case will be read to the prospective jurors during jury selection.
                          The elements that must be proven by each party will be included in the preliminary
                          jury instructions.




 Dated: June 20, 2025                                /s/ Paul L. Maloney
                                                    Paul L. Maloney
                                                    United States District Judge




 your E-Filing Login and Password. Once you have logged into the electronic filing section of the
 website, click Utilities, then select WDMI Attorney References and you will see the link to the
 Standard Civil Jury Instructions.

                                                       -7-
